Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 1 of 12




                                        1:17-cv-151-REB
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 2 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 3 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 4 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 5 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 6 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 7 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 8 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 9 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 10 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 11 of 12
Case 1:17-cv-00151-BLW Document 3 Filed 04/06/17 Page 12 of 12
